             Case 3:08-cr-30235-NJR                      Document 266 Filed 02/26/10                     Page 1 of 7        Page ID
AO 2458       (Rev. 09/08) Judgment in a Criminal Case             #644
              Sheet 1


                                          UNITED STATES DISTRICT COURT soZ~Z';~:080:G 2Oto
                                                                                                                         I!J~", IS rfi rfilc .,.
                                                         Southern District of Illinois                                         r°tvd2!IC~ Of: fOUfi.,.
                                                                                                                                             '{[ltv.
                                                                           )                                                                        01
             UNITED STATES OF AMERICA                                      )
                                                                                  JUDGMENT IN A CRIMINAL CASE                                         8

                                  v.                                       )
                                                                           )
                                                                                  Case Number:            4:08CR30235-004-GPM
                    RAYMOND WOOLEY                                         )
                                                                           )      USMNumber:              08166-025
                                                                           )
                                                                           )      Peter Cohen
                                                                                  Defendant's Attorney
THE DEFENDANT:
181 pleaded guilty to count(s)         1 of the Superseding Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended                 Count
21 USC 841(a)(I),                 Conspiracy to distribute crack cocaine                                       8/1/2008                     1
(b)(I)(A)(iii), 846,
18 USC 2



       The defendant is sentenced as provided in pages 2 through           __7 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                 o IS     o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenuant must notify the court and United States attorney of material cnanges in econoIUlC circumstances.

                                                                           February 19, 2010




                                                                           Hon. G. Patrick Murphy, U. S. District Judge
                                                                           Name and Title of Judge
              Case 3:08-cr-30235-NJR                    Document 266 Filed 02/26/10                Page 2 of 7            Page ID
AO 2458       (Rev. 09/08) Judgment in Criminal Case
                                                                  #645
              Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page     2   of
DEFENDANT:                          RAYMOND WOOLEY
CASE NUMBER:                        4:08CR30235-004-GPM


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:


 132 MONTHS


    t8l   The court makes the following recommendations to the Bureau of Prisons:
          That defendant be housed at FCr Greenville




    t8l   The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
          o     at    __________ 0                          a.m.    Q p.rn.    on

          o     as notified by the United States Marshal.

    .9    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o     before 2 p.rn. on

          o     as notified by the United States Marshal.

          o     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a          _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                              By
                                                                                               DEPUTY UNITED STATES MARSHAL
                 Case 3:08-cr-30235-NJR                     Document 266 Filed 02/26/10                           Page 3 of 7           Page ID
AO 2458        (Rev. 09/08) Judgment in a Criminal Case               #646
               Sheet 3    Supervised Release
                                                                                                                      Judgment Page __3__ of
DEFENDANT:                      RAYMOND WOOLEY
CASE NUMBER:                    4:08CR30235-004-GPM
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 YEARS

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
 the Bureau of Prisons.

 The defendant shaH not commit another federal, state or local crime.
 The defendant shaH not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substaI'!ce. The
 defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determmed by the
 court, not to exceed 52 tests in one year.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
 o        future substance abuse. (Check. if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shaH cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

          The defendant shaH comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed by
 o        the probation offic~~ the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a stuoent, or was
          convIcted of a qualnymg offense. (Check. if applicable.)

 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
 Payments sheet of tfiis judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant s~all not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
            granted permISSIOn to do so by the probatIOn officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of any contraband
            observed in plain view of the probation officer;
  II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
            court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
            such notlficatlOn reqUIrement.




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          Case 3:08-cr-30235-NJR                     Document 266 Filed 02/26/10        Page 4 of 7       Page ID
AO 2458   (Rev. 09/08) Judgment in a Criminal Case
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          Sheet 3C - Supervised Release
                                                                                             Judgment-Page _--,-4_ of
DEFENDANT:                RAYMOND WOOLEY
CASE NUMBER:              4:08CR30235-004-GPM

                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall pay any financial penalty that is imposed by this Judgment and that remains unpaid at the time of supervised
release, or during the term of probation.
Defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with
access to any requested financial information. Defendant is advised that the probation office may share financial information
with the Financial Litigation Unit.
Defendant shall apply all monies received from income tax refunds, lottery winnings, judgments and/or any other anticipated
or unexpected financial gains to the outstanding court ordered financial obligation. Defendant shall immediately notify the
probation officer of the receipt of any indicated monies.
Defendant shall participate as directed and approved by the probation officer in an evaluation and treatment, if
recommended, for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures, not to exceed 52 tests in a one-year period, as directed by the probation officer, and which may require
residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. Defendant shall pay for the costs associated wIth substance abuse counseling and/or testing based on a
co-pay sliding fee scale approved by the Probation Office. Co-pay shall never exceed the total costs of counselmg.
           Case 3:08-cr-30235-NJR                        Document 266 Filed 02/26/10                          Page 5 of 7           Page ID
AO 2458   (Rev. 09/08) Judgment in a Criminal Case
                                                                   #648
          Sheet 5 - Criminal Monetary Penalties
                                                                                                              Judgment -   Page     5      of
DEFENDANT:                        RAYMOND WOOLEY
CASE NUMBER:                      4:08CR30235-004-GPM
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                            Fine                                     Restitution
TOTALS            $   100                                                $ 400                                    $ 0


Q    The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

Q    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)'Dlent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

N arne of Payee                                Total Loss*                          Restitution Ordered                           Priority or Percentage




TOTALS                              $                            $0.00           $ _ _ _ _ _ _ _$~O~.O~O~


Q    Restitution amount ordered pursuant to plea agreement $

Q    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 V.S.c. § 3612(g).

~    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     ~    the interest requirement is waived for the            ~fine      Q restitution.

     Q    the interest requirement for the           Q   fine    Q      restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 24SB    (Rev. 09/08) Judgment in a Criminal Case             #649
           Sheet SA - Criminal Monetary Penalties
                                                                                                     Judgment-Page   _~6_   of
DEFENDANT:                 RAYMOND WOOLEY
CASE NUMBER:               4:08CR30235-004-GPM

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES


All financial penalties are payable through the Clerk of the District Court, 750 Missouri Ave., E. St. Louis, IL 62201.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                #650
                                                                                                          Judgment - Page     7     of
DEFENDANT:                  RAYMOND WOOLEY
CASE NUMBER:                4:08CR30235-004-GPM


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    9.   Lump sum payment of $                              due immediately, balance due

           9.    not later than                                    , or
           9.    in accordance           9.   C,      9. D,   9.     E, or        9. F below; or

 B    ~    Payment to begin immediately (may be combined with                9.   C,    ~    D,    9.   F below); or

 C    9.   Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D    ~    Payment in equal        monthly      (e.g., weekly, monthly, quarterly) installments of $ 50                  over a period of
              months     (e.g., months or years), to commence          30      (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    9.   Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    9.   Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 o    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 o    The defendant shall pay the cost of prosecution.

 o   The defendant shall pay the following court cost(s):

 o   The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
